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                                        UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF LOUISIANA
                                              MONROE DIVISION


   STATE OF MISSOURI, ET AL.                                           CASE NO. 3:22-CV-01213

   VERSUS                                                              JUDGE TERRY A. DOUGHTY

   JOSEPH R BIDEN JR., ET AL.                                          MAG. JUDGE KAYLA D. MCCLUSKY

                                                        JUDGMENT

              For the reasons set forth in the Memorandum Ruling on the Request for Preliminary

   Injunction,

              IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiffs’ Motion for

   Preliminary Injunction [Doc. No. 10] is GRANTED in part and DENIED in part.

              IT IS FURTHER ORDERED that: the DEPARTMENT OF HEALTH AND HUMAN

   SERVICES (“HHS”) and THE NATIONAL INSTITUTE OF ALLERGY AND

   INFECTIOUS DISEASES (“NIAID”), and specifically the following employees of the HHS and

   NIAID: XAVIER BECERRA,1 Secretary of HHS; DR. HUGH AUCHINCLOSS, Director of

   NIAID; YOLANDA BYRD, HHS Digital Engagement Team; CHRISTY CHOI, HHS Office of

   Communications; ASHLEY MORSE, HHS Director of Digital Engagement; JOSHUA PECK,

   HHS Deputy Assistant Secretary, Deputy Digital Director of HHS successor (formerly JANELL

   MUHAMMED); along with their secretaries, directors, administrators and employees;

   SURGEON GENERAL VIVEK H. MURTHY, KATHARINE DEALY, Chief Engagement

   Officer for the Surgeon General, along with her secretaries, directors, administrators, and

   employees; the CENTERS FOR DISEASE CONTROL AND PREVENTION (“CDC”), and

   specifically the following employees: CAROL Y. CRAWFORD, Chief of the Digital Media


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       All individuals named in this Judgment are being sued in their official capacities.

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   Branch of the CDC Division of Public Affairs; JAY DEMPSEY, Social-media Team Leader,

   Digital Media Branch, CDC Division of Public Affairs; KATE GALATAS, CDC Deputy

   Communications Director; UNITED STATES CENSUS BUREAU (“Census Bureau”), and

   specifically the following employees: JENNIFER SHOPKORN, Census Bureau Senior Advisor

   for Communications, Division Chief for the Communications Directorate, and Deputy Director of

   the Census Bureau Office of Faith Based and Neighborhood Partnerships, along with their

   secretaries, directors, administrators and employees; the FEDERAL BUREAU OF

   INVESTIGATION (“FBI”), and specifically the following employees: LAURA DEHMLOW,

   Section Chief, FBI Foreign Influence Task Force; ELVIS M. CHAN, Supervisory Special Agent

   of Squad CY-1 in the FBI San Francisco Division; THE UNITED STATES DEPARTMENT

   OF JUSTICE, along with their secretary, director, administrators, and employees; the following

   members of the Executive Office of the President of the United States: White House Press

   Secretary KARINE JEAN-PIERRE, Counsel to the President; STUART F. DELERY, White

   House Partnerships Manager; AISHA SHAH, Special Assistant to the President; SARAH

   BERAN, MINA HSIANG, Administrator of the United States Digital Service within the Office

   of Management and Budget; ALI ZAIDI, White House National Climate Advisor; White House

   Senior COVID-19 Advisor successor (formerly ANDREW SLAVITT); Deputy Assistant to the

   President and Director of Digital Strategy successor (formerly ROB FLAHERTY); DORI

   SALCIDO, White House COVID-19 Director of Strategic Communications and Engagement;

   White House Digital Director for the COVID-19 Response Team successor (formerly CLARKE

   HUMPHREY); Deputy Director of Strategic Communications and Engagement of the White

   House COVID-19 Response Team successor (formerly BENJAMIN WAKANA); Deputy

   Director for Strategic Communications and External Engagement for the White House COVID-



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   19 Response Team successor (formerly SUBHAN CHEEMA); White House COVID-19 Supply

   Coordinator successor (formerly TIMOTHY W. MANNING); Chief Medical Advisor to the

   President, DR. HUGH AUCHINCLOSS, along with their directors, administrators and

   employees; the CYBERSECURITY AND INFRASTRUCTURE SECURITY AGENCY

   (“CISA”), and specifically the following employees: JEN EASTERLY, Director of CISA; KIM

   WYMAN, Senior Cybersecurity Advisor and Senior Election Security Leader; LAUREN

   PROTENTIS; GEOFFREY HALE; ALLISON SNELL; BRIAN SCULLY, Officials of CISA;

   the UNITED STATES DEPARTMENT OF HOMELAND SECURITY (“DHS”), and

   specifically the following employees: ALEJANDRO MAYORKAS, Secretary of DHS;

   ROBERT SILVERS, Under-Secretary of the Office of Strategy, Policy and Plans; SAMANTHA

   VINOGRAD, Senior Counselor for National Security in the Official of the Secretary for DHS,

   along with their secretary, directors, administrators, and employees; the UNITED STATES

   DEPARTMENT OF STATE (“State Department”), and specifically the following employees:

   LEAH BRAY, Acting Coordinator of the State Department’s Global Engagement Center

   (“GEC”); ALEX FRISBIE, State Department Senior Technical Advisor and member of the

   Technology Engagement Team at the GEC; DANIEL KIMMAGE, Acting Coordinator of the

   GEC, along with their secretary, directors, administrators, and employees ARE HEREBY

   ENJOINED AND RESTRAINED from taking the following actions as to social-media

   companies:2




   2
    “Social-media companies” include Facebook/Meta, Twitter, YouTube/Google, WhatsApp, Instagram, WeChat,
   TikTok, Sina Weibo, QQ, Telegram, Snapchat, Kuaishou, Qzone, Pinterest, Reddit, LinkedIn, Quora, Discord,
   Twitch, Tumblr, Mastodon, and like companies.

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           (1)      meeting with social-media companies for the purpose of urging, encouraging,

   pressuring, or inducing in any manner the removal, deletion, suppression, or reduction of content

   containing protected free speech posted on social-media platforms;3

           (2)      specifically flagging content or posts on social-media platforms and/or forwarding

   such to social-media companies urging, encouraging, pressuring, or inducing in any manner for

   removal, deletion, suppression, or reduction of content containing protected free speech;

           (3)      urging, encouraging, pressuring, or inducing in any manner social-media

   companies to change their guidelines for removing, deleting, suppressing, or reducing content

   containing protected free speech;

           (4)      emailing, calling, sending letters, texting, or engaging in any communication of any

   kind with social-media companies urging, encouraging, pressuring, or inducing in any manner for

   removal, deletion, suppression, or reduction of content containing protected free speech;

           (5)      collaborating, coordinating, partnering, switchboarding, and/or jointly working

   with the Election Integrity Partnership, the Virality Project, the Stanford Internet Observatory, or

   any like project or group for the purpose of urging, encouraging, pressuring, or inducing in any

   manner removal, deletion, suppression, or reduction of content posted with social-media

   companies containing protected free speech;

           (6)      threatening, pressuring, or coercing social-media companies in any manner to

   remove, delete, suppress, or reduce posted content of postings containing protected free speech;




   3
    “Protected free speech” means speech that is protected by the Free Speech Clause of the First Amendment to the
   United States Constitution in accordance with jurisprudence of the United States Supreme Court, Courts of Appeal
   and District Courts.

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          (7)     taking any action such as urging, encouraging, pressuring, or inducing in any

   manner social-media companies to remove, delete, suppress, or reduce posted content protected

   by the Free Speech Clause of the First Amendment to the United States Constitution;

          (8)     following up with social-media companies to determine whether the social-media

   companies removed, deleted, suppressed, or reduced previous social-media postings containing

   protected free speech;

          (9)     requesting content reports from social-media companies detailing actions taken to

   remove, delete, suppress, or reduce content containing protected free speech; and

          (10)    notifying social-media companies to Be on The Lookout (“BOLO”) for postings

   containing protected free speech.

   This Preliminary Injunction precludes said named Defendants, their agents, officers, employees,

   contractors, and all acting in concert with them from the aforementioned conduct. This Preliminary

   Injunction also precludes said named Defendants, their agents, officers, employees, and

   contractors from acting in concert with others who are engaged in said conduct.

          IT IS FURTHER ORDERED that the following actions are NOT prohibited by this

   Preliminary Injunction:

          (1)     informing social-media companies of postings involving criminal activity or

   criminal conspiracies;

          (2)     contacting and/or notifying social-media companies of national security threats,

   extortion, or other threats posted on its platform;

          (3)     contacting and/or notifying social-media companies about criminal efforts to

   suppress voting, to provide illegal campaign contributions, of cyber-attacks against election

   infrastructure, or foreign attempts to influence elections;



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          (4)     informing social-media companies of threats that threaten the public safety or

   security of the United States;

          (5)     exercising permissible public government speech promoting government policies

   or views on matters of public concern;

          (6)     informing social-media companies of postings intending to mislead voters about

   voting requirements and procedures;

          (7)     informing or communicating with social-media companies in an effort to detect,

   prevent, or mitigate malicious cyber activity;

          (8)     communicating with social-media companies about deleting, removing,

   suppressing, or reducing posts on social-media platforms that are not protected free speech by the

   Free Speech Clause in the First Amendment to the United States Constitution.

          IT IS FURTHER ORDERED that no security is required to be posted by Plaintiffs under

   Federal Rule of Civil Procedure 65.

          IT IS FURTHER ORDERED that this Preliminary Injunction Order shall remain in effect

   pending the final resolution of this case or until further orders issue from this Court, the United

   States Court of Appeals for the Fifth Circuit, or the Supreme Court of the United States.

          IT IS FURTHER ORDERD that the Motion for Preliminary Injunction [Doc. No. 10] is

   DENIED as to the following Defendants: U.S. Food and Drug Administration; U. S. Department

   of Treasury; U.S. Election Assistance Commission; U. S. Department of Commerce and

   employees Erica Jefferson, Michael Murray, Wally Adeyemo, Steven Frid, Brad Kimberly, and

   Kristen Muthig; and Disinformation Governance Board (“DGB”) and its Director Nina Jankowicz.

          IT IS FURTHER ORDERED that no evidentiary hearing is required at this time.




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          IT IS FURTHER ORDERED that Plaintiffs’ request for certification of this proceeding

   as a class action pursuant to Fed. R. Civ. P. Article 23 (b)(2) is DENIED.

          THUS, DONE AND SIGNED IN MONROE, LOUISIANA, this 4th day of July 2023.


                                                       ___________________________________
                                                       TERRY A. DOUGHTY
                                                       UNITED STATES DISTRICT JUDGE




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